                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION

                                    No. 5:19-CV-00509-D

SYNGENTA CROP PROTECTION, LLC,

                       Plaintiff,
                                                                _ ORDER
               v.                                   GRANTING JOINT CONSENT
                                                     MOTION TO STAY CASE
ATTICUS, LLC,:

                       Defendant.

       On June 23,' 2022, Syngenta and Atticus filed a Joint Consent Motion to Stay this Case

until July 30, 2022.

       For good cause shown, it is hereby ORDERED that the Joint Consent Motion is

GRANTED: This case is stayed until July 30, 2022.


       SO ORDERED. This ___i!_ day of June, 2022




                                                      United States District Judge




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